Case 8-18-72971-ast

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WARN|NG: NO REPRESENTATK)N IS MADE Tl~lAY TH|S F(Rl OFCDN'|’RACT FORT|'E SALE ANDPURB’HASE G R£Al. ESTATE
CO\IPLIES MTH S£CT|ON 5~702 OF TI'lE GENERAL OBLlGA`HCNS LAW (“PLNN LANGUAG€"). '
CONSULT YOL"R LA\V\'ER BEFORE SlCNlNG THIS AGREEMENT

NOTE: FIRE AND CASUALTY LOSSES AND CONDEMNATION.

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Social Security Numbc l.D. No(slf

Tlte parties hereby agree as fnllows:

l. Prembcs. Scllcr shall sell and carney and purchaser shall purchase the
pmpmv together with all building and nupm\'t:ments thereon (- " ' '\

and 37 Wildwood Road. Sag Hm'bor. `NY. respectively

hereinafter called ‘-‘Se|ler" and

hcrcinalier called "Purchascr".

 

thc “Prcmrs=s"l. marc fully described on a separate page named “Schedulc
A". annexed hereto and made a pan hercot`md also known ns

Strccr Address; 37 Wildwood Rcad. Sug Harbor. NY

`l`u Mop Dwgnarr'orr

Scc. ll Bl.lJZ LoL 0l3

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receiving thc interest shall pay any ms thereon

 

 

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(b) if Seller dthqu haumdnr,?utd\mshall lmve snell remedies
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the reasonable expenses of examination of title to thc Premr'ses and of any
survey md survey inspection charged arc hereby made liens on the
Premr`ses, but such liens shall not continue alter default by Pun:lurscr
rurderthiseonm.

15. Notices. Any notice or other communication (“Notr`ce") shall be tn
wnu'ng and erther (a) sent by either of the parties hereto or by their
respective attorneys who nrc hereby authorized to dc so on their behalf or
by the Escrowce. by registered or certified rmrl. postage prepaid. or

(b) delivered in person or by overnight courier, with receipt
acknowledged to the respective addresses given in this contract l`or the
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deemed given when dc|ivored, or

(c) with respect to 17 (b) or 120, scm by t`ax to the pany’s momey.
Each Notioe by &x shall be given when transmission is
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16. No Assigrrrnent. This contract may not be assigned by l’utclmer
without the prior written consent ol` Sellcr in each instance and any
purported assignment(s) made without such consent shall be void.

17. Bmk¢r. Sc|ler and Purr:haser each represents and warrants to the
other that it has not dealt with any broker in connection with this sale
Clhtr lhatL' N/A

and Sc|ler shall pay Bmkcr any commission mmed pursuant to a
separate agreement between Seller and Bmlter. Sellcr and Purchaser shall

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expenses including resemble attorneys‘ fees, ansirtg out of the breach
on their respective parts ot` any representation or agreement contained in
this paragraph The provisions of this paragraph shall survive Closing or,
ifClosing does not occur, the tcrmr'mtion ot‘ this contract

28. Misccllnoeous. (a) All prior understandings agreements
representationsandwammics.oralorwrittcn,botwecn$dlcrand
Purohaser are merged in this contract it completely expis their full
agreement and has been uttered into alter full investigation neither party
relying upon any statenth made by anyone else that is not set forth in
this contract

(b) Nor'thcr this contract nor any provision thereof may be waivod.
changed orcnnoelled accept in writiog. 'l'his contract shall also apply roand
bind the hetrs, dism'butcec. legal representatives successors and permittcd
nigro of the respective partial Tbe parties hereby authorize their
respective attorneys to agree in writing to my changes itt dates and time
periods provided for in this oonlmcL

(c) Anyst'ngular word or reno herein shall also be read as in thc plural
and thc neuta' shall include the unsoulinc and li:rrrinine gendcr,
whenever the sense oi'tltis contract may require it.

(d) The captions in this contract are for convenience ar reference
only and in no \vny delinc, limit or describe the scope ofthis contract and
shall not bc considered in the interpretation ol` this contract or any
provision hereof

(c) This contract shall nor be binding
and delivered by Seller and Put'chascr.

(l’) Scllcr md Pun:hascr shall comply with IRC reporting
roquircmerts. ifapplicable. This Subpamgaph shall survive Closrng_

(g) F.ach party shall. at any time and from time to timc. cxccure.
acknowledge where appropriate and deliver such hrrther instruments and
documcns and take such other action as rmy be reasonably requested by
the other in order to carry out the intent md purpose of this contract This
subparagraph shall survive Closing,

(h) `lhr`s contract is intended for m exclusive benefit ofthe parties
hereto and, except m otherwise expressly provided hcrcr`rt, shall not be l`or

or effective until duly executed

indemnify md defend each cum against any mm dam md the benefit ol`. and shall not crate any rights in, or be enforceable by, my

   

other person orenn‘ry.

lN WlTNESS WHEREOF, thi lmct has been duly executed by thc parties hcrctq, / '

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Sellcr // 71 Purcha.rer
-Sé”er Pun_mr
Atlorney for Seller: Attorney for l’urcltaser:
Ratlow law Group. P.C. '

 
 
   

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Rcceipt of the down-payment is acknowledged and the ut\dcrsigted agrees to act 'sions of paragraph 6 abc

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RlDER ATTACHED TO AND FORMING PART OF CONTRAC'I` OF SAI.,E

DATE: time _5_7_2013

SELLER: Thacker

PURCHASER:

PREMlSBS: 37 Wildwood Road, Sag Hatbor, NY

SAlD PREMlSES ARE SOLD AND ARE TO BE CONVEYED SUBJEC'I` TO THE FOLLOWING:

l. lNCONSISTEN'l` PROVISIONS: 'I`his is a Rider containing additions or modifications to
the printed Contract of Sale. lf any part of this Rider is inconsistent with any part of the printed
Contract or any other Rider, the provisions of this Rider shall supersede any such other provisions.
The headings of paragraphs are for reference only and shall have no substantial effect or meaning in
this Contract.

2. ADDlTlONAL “SUBJECT TO” PROV]SIONS: In addition to those provisions of the
printed portion ofthe Contract, thc premises are sold subject to any state of facts an accurate survey
may show and to covenants, restrictions and utility easements of record, if any, and to zoning
ordinances, restrictions and regulations which may affect the property which are presently in effect
or which may be in effect as of the date ofthe closing except that Purchasers shall not be required to
accept title subject to the foregoing if they shall render title unmarketable or ifthcy shall prohibit or
restrict thc maintenance or use of the structure on the premises as a one family dwelling. Thc said

premises are sold and to be conveyed subject to the following:

a) Aoy state of facts an accurate survey may show provided same does not render title
unmarketable;
b) Existing covenants, rescrictions, easements, consents, reservations and agreements ofrecord, if

any, provided same are not violated by the present use of the premises and do not render title

unmarketable;

c) Beams and beam rights and party walls and party wall agreements of record, if any;

d) Possible lack of right to maintain vault or vaulted areas under the sidewalk;

e) Rights or easements, if any, acquired by any utility company to maintain and operate lines.

wires, cables, poles, and distribution boxes in, over and upon said premises;

f) Possible encroachments of retaining walls, bay windows, hedges, copings, cellar doors,
sidewalk elevators, fences, fire escapes, and variations between record lines and fences, hedges and

retaining walls, provided same does not render unmarketable;

g) Minor variations between the record lot lines of these premises and those shown on the tax
map;
lt) Standard exceptions contained in the form oftitle insurance policy issued by title companies,

which arc reputable and/or members of the New York Board of 'l`itle Underwriters.

 

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i) Any recorded covenants, restrictions, easements or agreements which limited the use of the
property provided they (l) are not now violated, (2) do not contain a clause under which the property
would be forfeited if they were violated and (3) do not materially restrict the normal use and
enjoyment of the property.

3. TITLE OB.|ECTIONS: Purchasers will deliver to Seller’s attorney at least ten (10) days
before the date set for closing, a written list of any objections or violations which appear on a title
examination that the Purchasers obtain. lf any objections or violations do appear. and Seller cannot
eliminate them by the time set for the closing of title, then the Seller may, at her option, have a
reasonable adjournment in order to remove such objections or violations; however. Seller is not
obligated to bring any action or proceeding or to obtain any variance to perfect their title. lf, after a
reasonable time. Seller is unable to deliver a marketable and insurable title, the Seller shall return the
down payment herein to the Purchasers, and thereafter this contract shall be null and void and neither
ofthe parties shall bear any liability towards the other, unless Purchasers agree to accept such title as
Seller may be able to convey, without reduction of the purchase price or any other liability of Seller.
Notwithstanding the foregoing, Seller shall clear all items in liquidated amount, i.e., mortgages, taxes,

judgments, etc.

4. NO ASSIGNMENT: This Contract may not be assigned without the prior written consent of

the Seller, which shall not be unreasonably withheld.
5. PRE~CLOSING INSPECT|ON: Purchasers shall have the right to inspect the premises
immediately prior to the closing to satisfy themselves as to the condition ofthe premises. The time of

inspection shall be established by the parties, and said Inspector must be duly certified.

6. BROKER: purchasers represent and warrant that they have not dealt with any realtor in

connection with their introduction to the property involved herein, or for the sale thereof other than

 

what has been stated in the contract. Purchasers agree to indemnify the Seller against and hold the
Seller harmless from any and all costs and expenses, including reasonable attorneys’ fees, incurred
by the Sellers as a result of any claim raised by or damages awarded to any broker by reason of
Purchaser’s acts arising out of or in connection with this transaction or their representation in this
paragraph. This paragraph shall survive the closing of title, or, if the closing does not occur. the

termination ofthis Contract

7. CERTIFICATE OF OCCUPANCY: Sellers warrant and represents that the premises are a
legal one family dwelling. Purchasers may, at their option, waive any provisions ofthis paragraph, in
writing. ln the event that Sellers do not have any Certificates of Occupancy required, and in the event
that Seller is unable to deliver the appropriate Letters or Certificates as set forth herein, Purchasers
shall have the right to elect to accept the premises without such Ccrtificates or Letters or terminate
this Agreement, in which case, Seller’s sole liability shall be to return the contract payment to the
Purchasers, and thereafter the contract shall be deemed canceled and of no further force and effect.
Notwithstanding, Seller shall make every reasonable effort to obtain a Certificate of Occupancy.

8. NOTlCES AND AUTHORITY 'l`O ACT: The parties hereto designate their respective
attorneys to give and/or receive notices upon their behalf and to execute and any notices, extensions,
amendments or adjournments with the same force and effect as if signed by the parties themselves
Ail notices shall be in writing and transmitted by regular mail, hand delivery, certified mail, return

receipt requested, or facsimile transmission.

 

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9. NON-FORE|GN PERSON AFl-`lDAVlT: lt` the Seller is not a corporation, the Seller
represents and warrants that she is not a “foreign person"" within the meaning of Section 1445 ofthe
internal Revenue Code and Seller agrees to sign an appropriate FiRPTA Affidavit at closing,
containing such information as required by Section 1445 and the regulations issued thereunder.

10. TAX COMPLlANCE: ln compliance with Section 6045 of the internal Revenuc Code, as
amended the Tax Reform Actl, Purchasers and Seller represent and warrant that tax identification
and social security numbers inserted at the beginning ofthis Contract, name and current address is

accurate and complete.

ll. PRCCEEDS: At closing the proceeds due Seller must be in the form ofa certified check from

 

Purchasers drawn on a New York bank, lender’s counsel’s escrow account, or an official bank check
ofa New York bank, both payable directly to Seller or to whomever Seller or her agents direct. No
endorsed checks will be accepted. lf thc Purchasers are individuals, no corporate checks will be
accepted. Failure to comply with the provisions contained herein may be deemed by Seller to be a

default by Purchasers entitling Seller to any and all remedies available.

12. LIENS: lfthe premises contracted for herein are subject to any liens, including but not
limited to, inheritance, estate. franchise, dissolution, license or other similar charges, judgment licns.
mechanics liens, taxes or obligations, the same shall not be deemed an objection to title, provided that
the title company to which the Purchasers have applied for title insurance will, at the time of closing
oftitie, insure against the collection of same from the premises.

13. NO RECORD|NG: This Contract may not be recorded by Purchasers.

 

l4. VACANT AND BROOM CLEAN: Premises will be delivered vacant and broom clean

pursuant to the terms of the eontract.

15. lDENTlFlCATlON OF PARTIES: The terms Seller or Sellers and Purchaser and
Purchasers and any pronouns referring to them shall be deemed to refer to the parties identified as
“SELLER" and “PURCHASER” in the printed portion ofthis Contract headed “Partics” and usc of
the singular or plural form of those words herein shall not in any way change the rights or

responsibilities of those parties.

16. CONTRACT DATE: Notwithstanding the date of the Contract inserted above, the Contract
of Sale shall be deemed dated as of the date that a fully executed copy ofthe Contract is received by

Purchaser’s attorney.

i7. CON'I`RACT DELIVERY: Delivery of this contract to Purchaser's attorney shall not be
deemed to be an offer on the part of Seller but merely an invitation to Purchasers to make an offer.
This contract shall have no effect upon Seller’s right with respect to the premises nor be binding on
Seller in any way unless and until'Seller bad executed this contract. Until execution by Seller. Seller

may withdraw its invitation to Purchaser to enter into this contract.

l8. PROPERTY CONDl'l`lON DlSCLOSURE ACT WAiVER: Purchasers represent that they
arc familiar with the terms of Article l4 of the Real Property l.aw known as the Real Property
Disclosure Act (“Aet"). An unexecuted copy ofthe Disclosure Form referred to in the Act is appended
to the end ofthis Rider. Purchasers hereby acknowledge and represent, notwithstanding the provisions
ot` the Act, that they are fully aware of and familiar with the condition and state of repair of the
premises and ot` all other property included in this sale, based upon Purchasers’ and/or their agent’s
own inspection, testing and investigation thereof, which Purchasers hereby acknowledge that they

 

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Purchasers shall accept the same “as is” in their present condition and state of repair, subject to

reasonable use, wear. tear and natural deterioration between the date hereof and the date of ciosing,

under the law with regard thereto. This clause ofthe contract shall survive closing.

19. GENERAL OBLIGATIONS: Notwithstanding the provisions of Section 5-l3l l of the
General Obligations Law, in the event the subject premises are destroyed by fire prior to the closing
of title or delivery of possession to the Purchasers and said damage is deemed substantial in that a
material part of said premises is destroyed, the Purchaser may elect to cancel this contract. Nothing
in this paragraph shall, however, be deemed to preclude the Purchasers from consummating this
contract by closing title subject to any such damage or any municipal violations resulting therefrom
and assuming the necessary cost of repair. Furchaser shall get an assignment ofinsurance proceeds

plus deductible.
20. NO REPRESENTAlONS: No representations or warranties have been made by the Seller as

to the condition ofthe premises or the improvements thereon and the said premises shall be sold ”AS
lS" condition in all respects, normal wear and tear, between now and closing expected, except roof
shall be free of leaks, and appliances, heating, and plumbing shall be in working order, however
seller's liability shall be limited to $250 in the event an appliance is not functional. Seller agrees to
deliver the premises vacant and broom clean. Seller makes no representation or warranty as to
habitability or condition of property and/or premises other than what has been stated herein, whether
local or other zoning laws or regulations permit future construction, or whether there exist code
violations and a certificate of occupancy for premises. ln the event that any part / portion of the
Premises is not approved for a Certiiicate of Occupancy by any relevant governmental authority at
the time of Closing, Seller may, at his election, either take those steps necessary to cure and obtain
such Certilicate of Occupancy as may be necessary, or, alternatively, cancel this contract and return
any down payment received to Purchaser. This contract shall thereafter become null and void and of
no force and effect and the seller shall then be under no obligation or liability whatsoever to the
purchaser and none ofthe parties shall have any further claim against the other, 'I`he provisions ofthe
contract of sale pertaining to the condition ofthe premises shall be extended to the date of delivery of

possession.

2l. TERMI'I`ES: The purchaser shall have the right to have a termite inspection for any wood
eating insects made at his sole cost and expense. Said inspection is to be made no later than ten (lO)
days from the date the mortgage approval. ln the event of infestation and/or damage is disclosed by

 

 

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such examination and the cost of curing same exceeds $500.00, then the seller shall have the option
of treating and/or repairing said condition or to cancel the contract and return the deposit made
hereunder, in which event, the parties-shall no longer be bound in any respect, unless purchaser elects
to cure the defect and get a credit of $500.00 at the closing. lf damage is under $500.00 seller shall

treat the condition with one (I) year guarantee from a reputable exterminator.

22. lNSPECTION: The purchaser shall have the right to inspect the premises 48 hours prior to and
nn the day of closing.

23. APPGRT|ONMENT: The seller agrees to apportion all usual adjustments including interest

on the purchaser's mortgage as ofthe date of delivery of possession or closing, whichever is later.

24. ESCROW: All sums of money paid by Purchaser to Seller at the time of signing of this
contract, shall be held in escrow by the attorney(s) for the Seller, and said monies will be held until
title closing or Purchaser's willful default at which time, with 10 days’ notice in writing, and if no
written objection is received, Seller’s attorney shall be authorized to pay over to the Seller all monies
paid hereunder towards the Seller’s damages and the Seller’s attorney shall be released from all further
liability upon making said payment.

25. MARKETABLE TITLE: in the event the Seller is unable to convey marketable title or
otherwise perform Seller’s obligations in accordance with the terms of this contract, the Purchasers,
at Purchasers' election, shall have the right to accept such title as the Seller is able to convey, without
any claim on the part of the Purchasers for abatement ofthe purchase price for defects or objections
or the Purchasers shall have for the right to rescind this contract and upon such rescission, the
Purchasers shall be entitled to a return of the amount paid at the time of the signing of the contract
without interest thereon plus net title company charges, if the Purchasers have ordered a title search,
or plus the reasonable cost of an abstract of title, and upon such repayment this contract shall be
declared null and void and of no force and effect and the Seller shall then be under no obligation or
liability whatsoever to the purchaser and none of the parties shall have any further claim against the
other. Nothing herein contained shall require the seller to bring an action or proceeding or incur any
expenses in order to render title marketablc.

26. DOUBLE ENDORSED CHECKS: Notwithstanding the printed form, it is understood that
the Seller will not be required to accept at the time of closing any double endorsed checks. All certified
and /or teller's checks presented at the time ofthe closing shall be made payable to the Seller directly.
unless written advice to the contrary is given to Furchaser. All checks shall be drawn on banks located

within the State of New York.

27.: SUBJ§:T T§;SHORT SALE APPROVASL FROM FORECLOSING BANK.

Seller Seller

sai/as

,/
// Purchaser Purchaser

 

-END-

 

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l,EAD-BASED PAINT BEFORE SALE DlSCLOSURE AND ACKNOWLEDGMENT FORM.
PART l - LEAD WARNlNG STATEMENT

Every purchaser of any interest in residential real properly on which a residential dwelling was built prior to
1978 is notified that such property may present exposure to lead from lead-»based paint that may place young
children at risk of developing lead poisoniog. Lead poisoning in young children may produce permanent
neurological damage including learning disabilities, reduced intelligence quotient, behavioral problems, and
impaired mcinory. Lead poisoning also poses a particular risk to pregnant women. The Seller of any interest in
residential real property is required to provide the buyer with any information on lead-based paint hazards from
risk assessments or inspections in the Scllers’ possession and notify the buyer of any known lead-based paint
hazards. A risk assessment or inspection for possible lead-based paint hazards is recommended prior to purchase.

PART ll- SELLER’S CERT!PICAT|ON

Sellers have no knowledge of lead-based paint and/or lead based paint hazards in the Unit or premises Sellers
have no reports or records pertaining to lead-based and/or lead-based paint hazards in the Unit or premiscs.

,/

Seller’s lnitials: gm )_ Datc:

PAR'I` lII - PURCHASERS‘ CERTlFlCATlCN

Purchasers hereby accept and acknowledge receipt of a copy of the EPA lead hazard information pamphlet
entitlcd: ”Lead Based Paint: Protect ¥our Family" as required under the proposed regulation published under
authority of42 U.S.C. section 1018 et seq.

Select one by initialing in appropriate place provided:

a) Purchasers have received a lO-day opportunity to conduct a risk assessment or inspection of the Unit or
Premises (“Risk Assessment") for the presence oflead-bascd paint and/or lead based paint hazards and with the
information provided from the Risk assessment has elected to proceed with the purchase ofthe premises or of
the Shares and Lease allocated to the above~referenced Unit on the terms set forth herein. Furchasers shall deliver

a copy of any Risk Assessment report to Sellers, if Purchaser have not already done so.

Purchaser’s lnitials:;;/¢__ Date:
or

b) Purchasers hereby elect to waive the opportunity to conduct a risk assessment or inspection for the presence
of lead-based paint and/or lead-based paint hazards and will proceed with the purchase of the Premises of the
Sharcs and Lease allocated to the above-referenced Unit on the terms set forth herein, Purchasers shall deliver
a copy cf any Risk Asscssment report to Sellers, ifPurchaser have not already done so.

Purchaser`s initials Date:

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Purchaser /-'
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